Case 4:11-cr-00159-CVE            Document 155 Filed in USDC ND/OK on 05/28/25                       Page 1 of 1


                                   UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF OKLAHOMA


United States of America,
                                                               Case No.:       11-cr-159-CVE
                                               Plaintiff,
vs.                                                            Date:           5/28/2025
                                                               Court Time:     9:07 a.m. to 9:13 a.m.

Clint Wesley Menzo Lawrence,
                                                               MINUTE SHEET – PROB/SR/ REVOCATION
                                             Defendant.        HEARING

Claire V. Eagan, U.S. District Judge       C. Portilloz, Deputy Clerk      Laura Griffin, Reporter         Crt Rm 2

Counsel for Plaintiff:       Mandy Mackenzie
Counsel for Defendant:       Joel Vandruff                  , Appt.
Probation Officer            Alton Walker

Defendant appears: ☒ In USM custody ☐ On bond; ☒ Counsel present ☐ Without counsel ☐ Counsel waived
                   ☒ Pursuant to Petition for Offender Under Supervision           [Dkt. 139                   ]
Defendant:         ☒ Waives the right to a revocation hearing
                   ☐ Requests an evidentiary revocation hearing
                      Stipulates to the allegations/violations as set forth in the Petition for Offender Under
                   ☒
                      Supervision
                      Stipulates there would be sufficient evidence to find by a preponderance of the evidence
                   ☐ that the terms of supervision have been violated should the government present the case to
                      the court
                   ☐ Denies the allegations/violations as set forth in the Petition for Offender Under Supervision
☒ Court accepts the stipulation as stated on the record
☒ Court finds Defendant in violation of Prob/SR conditions         ☐ Findings Withheld
☐ Defendant’s term of Prob/SR is revoked
☐ Defendant is to be released for inpatient treatment
☒ Additional Minutes: Government’s counsel advises they do not have any of the property listed in defendant’s
                       Motion for Return of Seized Property (Dkt. #141). Court dismisses the motion for lack of
                       jurisdiction.
☒ Final Prob/SR Revocation Hearing/Sentencing set for: 6/11/25 at 9:15 a.m.
☒ Defendant remanded to the custody of USM




Minutes Revocation Hearing                                                                      (CR-01e Modified 1/2021)
